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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  HOWLINK GLOBAL LLC,                            §
                                                 §
         Plaintiff,                              §
                                                 §
                                                         CASE NO. 2:22-cv-00040-JRG-RSP
         v.                                      §
                                                                   (Lead Case)
                                                 §
  AT&T, INC., et al.                             §
                                                             JURY TRIAL DEMANDED
                                                 §
         Defendants.                             §
                                                 §
                                                 §
  HOWLINK GLOBAL LLC,                            §
                                                 §
         Plaintiff,                              §
                                                 §
         v.                                      §       CASE NO. 2:22-cv-00042-JRG-RSP
                                                 §              (Member Case)
  VERIZON COMMUNICATIONS, INC., et               §
  al.,                                           §           JURY TRIAL DEMANDED
                                                 §
         Defendants.                             §
                                                 §
                                                 §



    JOINT MOTION FOR ENTRY OF PROPOSED AGREED PROTECTIVE ORDER

        COME NOW, Plaintiff Howlink Global LLC and Defendants AT&T Corp., AT&T

 Communications, LLC, AT&T Mobility LLC, AT&T Services, Inc., Cellco Partnership d/b/a

 Verizon Wireless, Verizon Services Corp., Verizon Enterprise Solutions, LLC, Verizon Business

 Global, LLC, Verizon Business Network Services, LLC, Verizon Corporate Services Group Inc.,

 Verizon Data Services, LLC, Verizon Media Inc., and Verizon Online, LLC (collectively, “the

 parties”) and respectfully request the Court enter the attached proposed Protective Order.
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 Date: July 13, 2022                /s/ Elizabeth L. DeRieux
                                    S. Calvin Capshaw
                                    Texas Bar No. 03783900
                                    Elizabeth L. DeRieux
                                    Texas Bar No. 05770585
                                    CAPSHAW DeRIEUX, LLP
                                    114 E. Commerce Ave.
                                    Gladewater, TX 75647
                                    Telephone: (903) 845-5770
                                    Email: ccapshaw@capshawlaw.com
                                    Email: ederieux@capshawlaw.com

                                    Kate E. Cassidy (Lead Attorney)
                                    NY Bar. No. 4380747
                                    Prashanth Chennakesavan (Pro Hac Vice
                                    Forthcoming)
                                    Cal. Bar No. 284022
                                    Dat Nguyen
                                    Cal. Bar No. 280755
                                    LTL ATTORNEYS LLP
                                    300 S. Grand Ave., 14th Fl.
                                    Los Angeles, California 90071
                                    Telephone: (213) 612-8900
                                    Facsimile: (213) 612-3773
                                    Email: kate.cassidy@ltlattorneys.com
                                    Email: prashanth.chennakesavan@ltlattorneys.com
                                    Email: dat.nguyen@ltlattorneys.com


                                    Attorneys for Plaintiff Howlink Global LLC



                                    /s/ Emily C. Welch
                                    Theodore Stevenson, III (TX Bar No. 19196650)
                                    ALSTON & BIRD LLP
                                    2200 Ross Avenue, Suite 2300
                                    Dallas TX 75201
                                    Phone: (214) 922-3400
                                    Fax: (214) 922-3899
                                    Email: ted.stevenson@alston.com

                                    David S. Frist (GA Bar No. 205611)
                                    Emily C. Welch (GA Bar No. 606071)
                                    ALSTON & BIRD LLP
                                    1201 West Peachtree Street, Suite 4900


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                                    Atlanta, GA 30309
                                    Phone: (404) 881-7000
                                    Fax: (404) 881-7777
                                    Email: david.frist@alston.com
                                    emily.welch@alston.com

                                    Ross R. Barton (NC Bar No. 37179)
                                    ALSTON & BIRD LLP
                                    101 South Tyron Street, Suite 4000
                                    Charlotte, North Carolina, 28280
                                    Phone: (704) 444-1000
                                    Fax: (704) 444-1111
                                    Email: ross.barton@alston.com

                                    Deron R. Dacus (TX Bar No. 790553)
                                    THE DACUS FIRM, P.C.
                                    821 ESE Loop 323, Suite 430
                                    Tyler, Texas 75701
                                    Phone: (903) 705-1117
                                    Email: ddacus@dacusfirm.com

                                    Attorneys for AT&T Defendants

                                    /s/ Emily C. Welch
                                    Theodore Stevenson, III (TX Bar No. 19196650)
                                    ALSTON & BIRD LLP
                                    2200 Ross Avenue, Suite 2300
                                    Dallas TX 75201
                                    Phone: (214) 922-3400
                                    Fax: (214) 922-3899
                                    Email: ted.stevenson@alston.com

                                    David S. Frist (GA Bar No. 205611)
                                    Emily C. Welch (GA Bar No. 606071)
                                    ALSTON & BIRD LLP
                                    1201 West Peachtree Street, Suite 4900
                                    Atlanta, GA 30309
                                    Phone: (404) 881-7000
                                    Fax: (404) 881-7777
                                    Email: david.frist@alston.com
                                    emily.welch@alston.com

                                    Ross R. Barton (NC Bar No. 37179)
                                    ALSTON & BIRD LLP
                                    101 South Tyron Street, Suite 4000
                                    Charlotte, North Carolina, 28280


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                                              Phone: (704) 444-1000
                                              Fax: (704) 444-1111
                                              Email: ross.barton@alston.com

                                              Deron R. Dacus (TX Bar No. 790553)
                                              THE DACUS FIRM, P.C.
                                              821 ESE Loop 323, Suite 430
                                              Tyler, Texas 75701
                                              Phone: (903) 705-1117
                                              Email: ddacus@dacusfirm.com

                                              Attorneys for Verizon Defendants



                                  CERTIFICATE OF CONFERENCE

                The undersigned hereby certifies that counsel for Plaintiff met and conferred with

 counsel for Defendants and this motion is joint.



                                              /s/ Elizabeth L. DeRieux




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